               Case 2:11-cr-00166-MCE Document 60 Filed 08/15/11 Page 1 of 2



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     HUANCHANG MA
 6

 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        )       No. 2:11-CR-00166 MCE
                                                      )
12
                                                      )
            Plaintiff,                                )       DEFENDANT’S WAIVER OF
13
                                                      )       APPEARANCE
     v.                                               )
14
                                                      )
     HUANCHANG MA,                                    )
15
                                                      )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16          Defendant.                                )
                                                      )
17
                                                      )
                                                      )
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20
            Pursuant to Fed. R. Crim. P. Rule 43, defendant HUANCHANG MA hereby waives the
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     right to be present in person in open court upon the hearing of any motion or other proceeding in
22
     this case, including, but not limited to, when the case is set for trial, when a continuance is
23
     ordered, and when other action is taken by the Court before or after trial, except upon
24
     arraignment, initial appearance, trial confirmation hearing, entry of plea, and every stage of trial
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     including verdict, empanelment of jury and imposition of sentence.
26
     ///
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     ///
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     ///


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               Case 2:11-cr-00166-MCE Document 60 Filed 08/15/11 Page 2 of 2



 1          Defendant hereby requests the Court to proceed during every absence of his which the
 2   Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
 3   at all times by the presence of his attorney, the same as if the defendant were personally present.
 4   Defendant further agrees to be present in Court ready for trial any day and hour the Court may
 5   fix in his absence.
 6          The defendant further acknowledges that he has been informed of his rights under Title
 7   18 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
 8   delays without his personal appearance.
 9   Dated: August 9, 2011
10

11                                                         /s/ Huanchang Ma
                                                          HUANCHANG MA
12
                                                          (Original retained by attorney)
13

14
            I concur in Mr. Ma’s decision to waive his presence at future proceedings.
15
     Dated: August 9, 2011                                Respectfully submitted,
16

17
                                                           /S/ John R. Manning
18                                                        JOHN R. MANNING
                                                          Attorney at Law
19
                                                          Attorney for Defendant
20                                                        HUANCHANG MA

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22          IT IS SO ORDERED.

23   August 12, 2011
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                                               __________________________________
25                                             MORRISON C. ENGLAND, JR
                                               UNITED STATES DISTRICT JUDGE
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